          Case 2:20-cr-00052-DCN Document 86 Filed 09/19/22 Page 1 of 2




JOSHUA D. HURWIT, IDAHO STATE BAR NO. 9527
UNITED STATES ATTORNEY
WILLIAM M. HUMPHRIES, IDAHO STATE BAR NO. 11709
ASSISTANT UNITED STATES ATTORNEY
DISTRICT OF IDAHO
1290 W. MYRTLE ST., SUITE 500
BOISE, ID 83702
TELEPHONE: (208) 334-1211
FACSIMILE: (208) 334-1413
Email: Bill.Humphries@usdoj.gov

        Attorneys for United States of America


                               UNITED STATES DISTRICT COURT

                                  FOR THE DISTRICT OF IDAHO

 UNITED STATES OF AMERICA,

                 Plaintiff,                                Case No. 2:20-cr-00052-DCN
         vs.
                                                           NOTICE OF APPEARANCE
 TRINA MARIE WELCH,

                 Defendant.


        PLEASE TAKE NOTICE that WILLIAM M. HUMPHRIES, Assistant United States

Attorney for the District of Idaho, hereby appears in the above action as one of the attorneys

representing the United States of America and requests that he be added to the list receiving service of

papers and pleadings filed in this action.

        Respectfully submitted this 19th day of September, 2022.

                                                         JOSHUA D. HURWIT
                                                         UNITED STATES ATTORNEY
                                                         By


                                                         /s/ ________________________________
                                                         WILLIAM M. HUMPHRIES
                                                         Assistant United States Attorney

NOTICE OF APPEARANCE – 1
         Case 2:20-cr-00052-DCN Document 86 Filed 09/19/22 Page 2 of 2




                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on September 19, 2022, the foregoing NOTICE OF

APPEARANCE was electronically filed with the Clerk of the Court using the CM/ECF system

which sent a Notice of Electronic Filing to the following person(s):


       Steve Roberts
       Steve_Roberts@fd.org
       Defense Attorney

       Amy Rubin
       Amy_rubin@fd.org
       Defense Attorney




                                                     /s/_________________________
                                                     Chelsie Black
                                                     Financial Litigation Technician




NOTICE OF APPEARANCE – 2
